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                        UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WASHINGTON
                                 AT SEATTLE



    JAIME PLASCENCIA, et al.,
                  Plaintiff(s),                  CASE NO. 2:17−cv−01505−MJP
          v.
                                                 ORDER SETTING TRIAL
    COLLINS ASSET GROUP, LLC, et al.,            DATE & RELATED DATES

                 Defendant(s).




     JURY TRIAL DATE                                      April 15, 2019
     Deadline for joining additional parties              February 13, 2018
     Deadline for filing amended pleadings                February 23, 2018
     Reports from expert witness under FRCP 26(a)(2)
     due                                                  September 17, 2018

     All motions related to discovery must be filed by
          and noted on the motion calendar on the         October 17, 2018
          third Friday thereafter (see CR7(d))
     Discovery completed by                               November 16, 2018
     All dispositive motions must be filed by             December 17, 2018
          and noted on the motion calendar on the
          fourth Friday thereafter (see CR7(d))
     Counsel are reminded of the requirement to
     provide courtesy copies of any motions with



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     exhibits or other attachments exceeding 50 pages.
     Compliance with this requirement will facilitate
     timely consideration of your motion.
     All motions in limine must be filed by
          and noted on the motion calendar no earlier
          than the third Friday thereafter and no later        March 11, 2019
          than the Friday before the pretrial conference.
     Agreed pretrial order due                                 April 3, 2019
     Trial briefs, proposed voir dire questions, and
                                                               April 3, 2019
          proposed jury instructions:
                                                               April 5, 2019
     Pretrial conference                                       at 01:30 PM
     Length of Jury Trial                                      3 DAY

          These dates are set at the direction of the Court after reviewing the joint
     status report and discovery plan submitted by the parties. All other dates are
     specified in the Local Civil Rules. If any of the dates identified in this Order or
     the Local Civil Rules fall on a weekend or federal holiday, the act or event shall
     be performed on the next business day. These are firm dates that can be changed
     only by order of the Court, not by agreement of counsel or the parties. The
     Court will alter these dates only upon good cause shown: failure to complete
     discovery within the time allowed is not recognized as good cause.
          If the trial date assigned to this matter creates an irreconcilable conflict,
     counsel must notify the Deputy Clerk, Rhonda Miller, in writing within 10
     days of the date of this Order and must set forth the exact nature of the conflict.
     A failure to do so will be deemed a waiver. Counsel must be prepared to begin
     trial on the date scheduled, but it should be understood that the trial may have
     to await the completion of other cases.
                                      COOPERATION:
          As required by CR 37(a), all discovery matters are to be resolved by
     agreement if possible. Counsel are further directed to cooperate in preparing the
     final pretrial order in the format required by CR 16.1, except as ordered below.




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                                         EXHIBITS:
          The original and one copy of the trial exhibits are to be delivered to
     chambers four days before the trial date. Each exhibit shall be clearly marked.
     Exhibit tags are available in the Clerk's Office. The Court hereby alters the
     CR 16.1 procedure for numbering exhibits: plaintiff's exhibits shall be numbered
     consecutively beginning with 1; defendant's exhibits shall be numbered
     consecutively beginning with the next number series not used by plaintiff.
          Duplicate documents shall not be listed twice: once a party has
     identified an exhibit in the pretrial order, any party may use it. Each set of exhibits
     shall be submitted in individual file folders with appropriately numbered tabs.
                                       SETTLEMENT:
          Should this case settle, counsel shall notify Rhonda Miller as soon as
     possible at 206−370−8518. Pursuant to GR 3(b), an attorney who fails to give
     the Deputy Clerk prompt notice of settlement may be subject to such discipline
     as the Court deems appropriate.


       DATED: The 16th of January 2018.
                                                           s/ Marsha J. Pechman
                                                         Honorable Marsha J. Pechman
                                                         United States District Judge




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